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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

DAVID CODREA, et al.                )
                                    )
      Plaintiffs,                   )
      v.                            )
                                    ) Civil Action No. 18-cv-3086-DLF
BUREAU OF ALCOHOL, TOBACCO,         )
FIREARMS AND EXPLOSIVES, et al.     )
                                    )
      Defendants.                   )
____________________________________)


  PLAINTIFFS’ REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
              MOTION FOR PRELIMINARY INJUNCTION


Dated: February 8, 2019

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            I. Statement Regarding Oral Argument

    Plaintiffs are aware that oral argument on the related cases was held on February 6,

2019. Plaintiffs believe that oral argument would assist the Court to the extent the claims

and briefing presented in Plaintiffs’ moving papers are different than that of the related

cases. For instance, Plaintiffs do not concede that the Final Rule is reasonable, and instead

would argue that the Final Rule is without legal authority, violates the plain text of the

statute, and in any event, is arbitrary, capricious and not a reasonable interpretation of the

statute. Additionally, Plaintiff Codrea has an Akins stock and would be able to more fully

address the Court’s questions, raised on the February 6, 2019 hearing, regarding the

operation of that device. As to Plaintiffs’ claims regarding Acting Attorney General

Whitaker’s appointment, oral argument would be unnecessary on that claim and Plaintiffs

would rely on the argument presented in the briefs, and because the related case makes the

same argument, Plaintiffs would also rely on the argument already held on that issue.

            II. Introduction

    Defendants filed their Opposition to Plaintiffs’ Motion for Preliminary Injunction

(“Opp.”) on February 1, 2019. Plaintiffs believe a preliminary injunction, at this stage, is

not only appropriate but necessary for the Court (and any subsequent Court of Appeals) to

determine the validity of the Final Rule before Plaintiffs (and all other similarly situated

individuals) become dispossessed of private property they may never be able to own again,

even if the Final Rule is invalidated. Justice requires an injunction.

            III. Plaintiffs Have Established a Likelihood of Success on Their Claims

   a. Defendants’ Rule is Arbitrary and Capricious




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      Defendants’ Opposition states that the “Final Rule sets forth thirty detailed pages of

analysis that persuasively explain why the ‘best interpretation’ of the statutory definition

of ‘machinegun’ is one that includes bump stocks.” Opp. at p.13. The Defendants allege

that this Court must not “substitute its judgment for that of the agency” and that the

“agency’s statement must be on of reasoning; it must not be just a conclusion; it must

articulate a satisfactory explanation for its action…” Opp. at p. 13. (citations omitted).

      The Defendants failed to offer satisfactory explanations for their actions, and instead,

they were presented with an order (outlawing bump stocks) and then attempted to justify

the conclusion. President Trump tweeted on February 22, 2018 that he “will be strongly

pushing Comprehensive Background Checks with an emphasis on Mental Health. Raise

age to 21 and end of sale of Bump Stocks!”1 Then, on March 23, 2018, President Trump

tweeted, that “Obama Administration legalized bump stocks. BAD IDEA. As I promised,

today the Department of Justice will issue the rule banning BUMP STOCKS with a

mandated comment period. We will BAN all devices that turn legal weapons into illegal

machine guns.”2 As promised with the forgone conclusion that bump stocks are to be

outlawed, the Final Rule, with a stroke of the pen by an Acting Attorney General and

published in the Federal Register during a government shutdown, were put into effect on

December 26, 2018. The Defendants admit that the “analysis in the Final Rule mirrors that




1
    https://twitter.com/realdonaldtrump/status/966662241977360384?lang=en
2
    https://twitter.com/realdonaldtrump/status/977286489410240514?lang=en

                                              2
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in the NPRM”.3 These Plaintiffs, and all others similarly situated, must destroy their private

property or abandon it to an ATF office, or they will be felons.

     The ATF believes a clarification is needed to mandate that bump stocks are

machineguns, not because of agency expertise (in fact, the ATF has taken the position it

cannot regulate these devices as machineguns because they are not machineguns multiple

times in the past) but instead issued this “clarification” because of political pressure. The

Defendants state a multi-pronged determination that a bump stock now equals a

machinegun: “This conclusion is based on the determination that, as long as: 1) the trigger

finger remains stationary on the ledge provided by the design of the device; 2) the shooter

maintains constant rearward pressure on the trigger; and 3) the shooter engages in constant

forward pressure with the non-trigger hand on the rifle through the barrel-shroud or fore-

grip; then, the firearm’s recoil energy is harnessed in a continuous back-and-forth cycle [].

In this way, a bump stock constitutes a ‘self-regulating’ or ‘self-acting’ mechanism that

allows the shooter to attain continuous firing after a single pull of the trigger.” Opp. at p.

9.

     So, if any of these multi-pronged determinations fail, then logically, a bump stock

could not be a machinegun. In fact, it would appear that (if the Final Rule becomes valid),

then removing the “ledge provided by the design of the device” would render the bump

stock not a machinegun. But this position is inconsistent with the Final Rule which states




3
  See Opp. p. 8. The NPRM is where the public could comment on the proposed language
of the Final Rule. However, it looks as though none of the comments were taken seriously
and instead, as the Defendants conceded, the analysis in the Final Rule mirrors the NPRM.
To be sure, the Defendants addressed some of the comments, but it does not appear that
the comments really achieved anything substantive except mandate that the Defendants
respond to them.
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that, “[t]he Department does not believe that removing the trigger ledge is sufficient to

affect a bump-stock-type device’s classification as a machinegun. While the trigger ledge

makes it easier to utilize the device, removing the ledge does nothing to prevent the

directing of ‘recoil energy’ … Therefore, even without the trigger ledge, the bump-stock-

type device will operate as designed if the shooter simply holds his or her finger in place.”

Final Rule at 66537. This further demonstrates the arbitrariness of the decision to classify

bump stock devices as machineguns because the finger ledge is either required as part of

the device or it is not.

       What the Defendants attempt to do is to outlaw the human physical component

necessary for which to bump-fire a rifle. Bump stocks do not operate as a machinegun,

which fire “… automatically more than one shot, without manual reloading, by a single

function of the trigger...” See 26 U.S.C. §5845(b). Instead, the Defendants attempt to

provide a new meaning to “automatically”, which is not an ambiguous term and should be

afforded its plain meaning.

       The plain definition of “automatically” is defined as “without human control;

independently.”4 A shooter firing a machinegun merely pulls the trigger and holds it, and

the machinegun continues to fire until the ammunition is expended or until the shooter

releases the trigger. This is what is demonstrated in Mr. Savage’s expert report because

without the human input (or control), a bump stock simply does not do anything except act

like a stock. It takes skill and technique to make a bump stock function. Said another way,

if a shooter using a bump stock pulls the trigger without the exact right amount of pressure

on the forward end of the firearm and the exact right amount of pressure on the stock, the



4   https://dictionary.cambridge.org/us/dictionary/english/automatically
                                              4
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rifle will do nothing but fire one round. If, for instance, a shooter does not hold the forward

end of the firearm, and merely uses one hand to fire the weapon, it will still fire only one

shot by every pull of the trigger.

    Defendants cite to the Olofson case, and it should be pointed out to the Court that the

defendant in Olofson did not have a bump stock equipped rifle, but instead had a rifle (of

the same type classification of some of the rifles found at the Mandalay Bay incident: AR-

15) which “had been assembled with four machinegun components: the trigger, the

hammer, the disconnector, and the selector switch. (Id. at 102.) This would make the

weapon fire automatically and would therefore constitute a machinegun.” Olofson v.

United States, No. 10-C-0896, 2013 U.S. Dist. LEXIS 112481, at *12 (E.D. Wis. Aug. 9,

2013). What is not known, at least to the public, was whether any of the rifles found in the

Mandalay Bay incident also had the same type of machinegun components, thus making

those firearms machineguns in and of themselves. And neither the FBI nor the ATF will

say definitively one way or the other.

    This is not a distinction without a difference, yet the Defendants attempt to bootstrap

the 7th Circuit’s Ruling in Olofson to stand for something that it does not. The Defendants

claim that Olofson “requires only that the weapon shoot multiple rounds with a single

function of the trigger ‘as the result of a self-acting mechanism,’ not that the self-acting

mechanism produces the firing sequence without any additional action by the shooter.”

Opp. at p. 17. This of course is a much-expanded view of Olofson, because Olofson’s

firearm, as stated previously, had actual machinegun components installed within it. And

further, Olofson’s rifle would only fire as a machinegun with certain ammunition (soft

primer ammunition).



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    The United States Supreme Court has already defined the term “automatic” as found

within Staples:

       As used here, the terms "automatic" and "fully automatic" refer to a weapon
       that fires repeatedly with a single pull of the trigger. That is, once its trigger
       is depressed, the weapon will automatically continue to fire until its trigger
       is released or the ammunition is exhausted. Such weapons are
       "machineguns" within the meaning of the Act. We use the term
       "semiautomatic" to designate a weapon that fires only one shot with each
       pull of the trigger, and which requires no manual manipulation by the
       operator to place another round in the chamber after each round is fired.

Staples v. United States, 511 U.S. 600, 602 n.1, 114 S. Ct. 1793, 1795 (1994). Under this

plain-text definition, a bump stock is not a machinegun, because simply depressing the

trigger will not cause the weapon to “automatically continue to fire until its trigger is

release or the ammunition is exhausted.” The Defendants concede that there are multiple

physical inputs required for a bump stock to operate and Defendants’ strained definition

proves that bump stocks are not machineguns.

       If the Court was not convinced that the definition Defendants put forth is

unreasonable, then it should simply look at the last sentence of the Final Rule (underlined):

       § 479.11 Meaning of terms. Machine gun. * * * For purposes of this
       definition, the term “automatically” as it modifies “shoots, is designed to
       shoot, or can be readily restored to shoot,” mean functioning as the result of
       a self-acting or self-regulating mechanism that allows the firing of multiple
       rounds through a single function of the trigger; and “single function of the
       trigger” means a single pull of the trigger and analogous motions. The term
       “machine gun” includes a bump-stock-type device, i.e., a device that allows
       a semi-automatic firearm to shoot more than one shot with a single pull of the
       trigger by harnessing the recoil energy of the semi-automatic firearm to
       which it is affixed so that the trigger resets and continues firing without
       additional physical manipulation of the trigger by the shooter.

       Nowhere in a bump stock device does it “harness” recoil energy and the trigger

absolutely requires additional “physical manipulation” by the shooter in order for it to

continue to fire. But the big question should be, if the Final Rule’s regulation means bump

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stock, why state separately that “machine gun” includes a bump-stock-type device? It

seems unnecessary surplusage unless the government concedes that the actual definition

set forth does not apply to bump stocks which is why it is necessary to define machinegun

as encompassing a bump stock.

b.     The Final Rule’s Treatment of Other Devices Demonstrates its Arbitrariness

       Defendants claim that the Final Rule’s treatment of bump stocks as compared to

other devices which could accelerate the rate of fire is not unreasonable. Opp. at p. 18.

Defendants, regarding binary triggers and why they are not machineguns, state that binary

triggers “permits two rounds to be fired; the first is fired when the trigger is pressed and

the second round is fired when the trigger is released. Thus, a single round is fired with

each function: the pull and release.”5 Id. Defendants have taken the statutory definition of

machinegun and flipped it on its head by making a “pull” and “release” now two functions

of a trigger, when the only “function of a trigger” is a “pull and release”. But binary triggers

are safe, at least for now, and are not considered machineguns, until the Defendants revisit

this classification again. Perhaps this was done to limit the number of manufacturers or

owners that would complain at this stage, since the only ban on the table is bump stocks.

In any event, it is the apex of arbitrary and capricious to admit that a binary trigger fires

twice and is not a machinegun, but then to classify a bump stock as a machinegun when it

only fires one round per “pull and release”.




5Given the Defendants’ assumed position that a trigger now has two separate functions
(pull and release), perhaps if a trigger had three separate functions (pull, half reset, release
or some other ‘analogous motion’) then even if it would fire three rounds during those three
separate movements, it would not satisfy the definition of machinegun.

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         Defendants claim that rubber bands are not “designed to be affixed” to a

semiautomatic and thus, are not classified as machineguns. A rubber band is usually used

to hold objects together. However, rubber bands can also be used to store (or harness)

energy and can be used to fly small model airplanes.6 Rubber bands can also be used to

bump fire rifles. See https://www.youtube.com/watch?v=DbNO7ich0ns (video of rapid

manual trigger manipulation utilizing a rubber band stretched across the magazine well and

behind the trigger). The rubber band attached to the rifle in the video assists in bump firing

by assisting in resetting the trigger, utilizing the energy stored in the rubber band because

when the operator depresses the trigger, the rifle is fired and the trigger reset, which then

of course allows for faster firing.7

         The Final Rule is arbitrary and unreasonable because it treats the same result (bump

firing) completely different based upon what is used to achieve the technique of bump

firing. And as stated in Mr. Savage’s report, “ALL semiautomatic firearms can be ‘bump

fired’ regardless of any ‘bump-type-stock-device’ installed or not. It is a matter of skill

and coordination to find the ‘rhythm’, or cyclic rate of the firearm at hand and the correct

amount of counterforce to be applied and when to apply them.” See Docket 16-1, p.3.

         In a footnote, Defendants state that a “bump stock is more akin to a paddle ball …

wherein the ball is constrained in the distance it may travel from the paddle by an attached




6
    http://www.rubber-power.com/
7
  In an interesting classification, the ATF classified a “14-inch long shoestring with a loop
at each end” as a machinegun. Almost three years later, the ATF reversed itself that a
“string by itself is not a machinegun, whether or not there are loops tied on the ends.
However, when the string is added to a semiautomatic rifle as you proposed in order to
increase the cycling rate of that rifle, the result is a firearm that fires automatically and …
[is] a machinegun.” See Docket 16-1, pp. 61-62.
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string, thereby facilitating the ability of the player to control the ball and find the rhythm

appropriate for automatically performing the task.” See fn. 11. Ironically, the link

provided by Defendants shows a paddle, and a ball and a “thin rubber cord” which would

attach the ball to the paddle. In any event, the reference is humorous as this would make

it more like the Akins Accelerator which utilized an internal spring to assist in bump firing

and a regular bump stock does not have any springs, elastic bands or other energy storing

devices contained within.

c.     The Final Rule’s Entire Premise is Based on Speculation

       As stated previously, there is no factual foundation that the “Las Vegas

perpetrator[‘s]” rifles were not in and of themselves illegally modified machineguns, some

of which were equipped with bump stocks. The ATF has not inspected the rifles used. The

FBI, one must assume, has inspected them, but has not released any information publicly

which would identify whether, like in Olofson, those weapons had machinegun fire control

devices installed. Defendants believe that this is a non-issue and the fact that the Las Vegas

perpetrator may have used bump stocks “illustrated the particularly destructive capacity”

of bump stocks which then lead to “instructions from the President on which the agency

acted.” Opp. at p. 19. This last part is telling, in that Defendants concede (as President

Trump’s tweets and comments make pellucid), the banning of bump stocks was a

conclusion in search of a justification from an agency that said over and over that it had no

authority to do then what it is doing now.

d.     Defendants’ Actions are Unreasonable as they are Ultra Vires8



8
 In footnote 2 of the Opp., Defendants mistakenly reference an “ASFS stock” which the
ATF permitted registration in November, 2011. In fact, this was not an “ASFS stock”
which was registered after the May 19, 1986 § 922(o) cutoff date, but a machinegun,
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       Plaintiffs concede that “ATF and DOJ have routinely provided regulatory

definitions of the terms Congress did not define in the GCA and NFA.” Opp. at p. 20.

However, this current issue is not a new one for Defendants. As cited heavily in the Opp.,

Defendants rely on Akins v. United States, 312 F. App'x 197 (11th Cir. 2009) for the

proposition of ATF’s “interpretative authority … to interpret the term ‘single function of

the trigger’”. Opp. at p. 20. In that case, the plaintiff manufactured a type of bump fire

stock which utilized an internal recoil spring in the stock to accelerate the “cyclic firing

rate of a semiautomatic firearm”. Id. at 198. In March of 2002, Akins submitted his design

to ATF. The device was approved by ATF shortly thereafter, and Akins again asked the

ATF in January 2004 to “explain its ruling” so that Akins could be assured that his

classification was correct. Id. After receiving additional requests from others to evaluate

similar devices, the ATF reclassified the Akins Accelerator as a machinegun, overruling

previous approvals and instructing Akins to “either register the devices he possessed or to




Browning Auto BAR 1918 A-2, registered by an individual on September 5, 1986 which
was       approved        under        the      authority       of  the      ATF.
https://www.regulations.gov/contentStreamer?documentId=ATF-2018-0002-
75886&attachmentNumber=2&contentType=pdf (This document was provided in a
comment to the ATF and is a part of the administrative record).

ASFS stands for Akins Slam Fire Solution, and the ‘stock’ at issue in that classification
had no trigger, but instead relied on “slam firing” the rifle to achieve faster firing rates.
The ATF classified that device as a machinegun, because the rifle would fire
“automatically, more than one round, by a single function of the trigger”, which in that
case, was the forward assembly “slamming” back into the rearward portion of the firearm.
That device would also fire automatically when merely the weight of the firearm was tilted
towards the forward position and the rearward position “slammed” home. Then, of course,
gravity took over and allowed the firearm to fire “automatically” without additional human
input. See Docket 16-1, pp. 43-46.

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surrender them.” Id. at 199. The ATF required that Akins “turn over any recoil springs in

his possession” allowing Akins to keep the stocks. Id.

       During this same time, other stocks which did not have this internal recoil spring,

were authorized as non-machineguns by the ATF utilizing the decades-old definition of

machinegun.     However, as stated in Akins, the Eleventh Circuit adopted the ATF’s

interpretation that “[a]fter a single application of the trigger by a gunman, the Accelerator

uses its internal spring and the force of recoil to fire continuously the rifle cradled inside

until the gunman releases the trigger or the ammunition is exhausted.” Id. at 200. What is

left out of this case is that the ATF eventually approved, again, the Akins device without

an internal spring.

       The problem in Akins was that the firearm fired without any additional skill or input

necessary from the operator to function. As Mr. Savage explained in his report, once the

Akins Accelerator was set up, “it ran like a sewing machine”. But the ATF reclassified the

device as a machinegun because the internal recoil spring made it to where the operator

merely pulled the trigger and the firearm functioned as a machinegun with no additional

skill or technique necessary. In the Final Rule, the Defendants claim that the “purpose of

a bump-stock-type device is to eliminate the need for the shooter to manually capture,

harness or otherwise utilize [the recoil] to fire additional rounds, as one would have to do

to ‘bump fire’ without a bump-stock-type device.” Final Rule at 66532. This instead

describes the Akins Accelerator which removed the technique and skill required to bump

fire a firearm. This is also why upon removal of the internal recoil spring from the Akins

Accelerator, it was no longer a machinegun because it required additional input from the

shooter to function.



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         Mr. Savage assisted Akins with developing an ATF-Compliant bump stock device,

which Plaintiff Codrea now owns. This device, once the internal recoil spring was

removed, was now considered “not-a-machinegun” by the ATF because it required

additional operator input.    But now, under the Final Rule, Plaintiff Codrea’s not-a-

machinegun Akins stock will once again be a machinegun. Given this case which the

Defendants rely so heavily on, their evaluation and testing of said device (both before

approval and after approval of the original device and after the approval was rescinded and

then with approval for the modified Akins stock), and given the adoption by the Eleventh

Circuit that a “single function of the trigger” means “single pull of the trigger”, Defendants’

attempt to classify a bump stock without an internal spring as a machinegun fails.

         It fails because it significantly downplays the human component from the equation.

A bump stock will only work if the correct amount of pressure is utilized on the forward

grip/forward end of the firearm. Too much pressure and the bump stock will not work.

Too little pressure and it will not work. This is not a self-acting or self-regulating

mechanism. “Self-acting” is defined as “acting or capable of acting of or by itself”.9 “Self-

regulating” is defined as “regulating oneself or itself.”10 Defendants’ Final Rule is akin to

reclassifying manual transmissions as automatic transmissions because the clutch, gearbox

and engine are “self-acting or self-regulating mechanisms.” And perhaps the government

could say that manual transmissions are now automatic because in order to change gears

and keep the vehicle moving, the user simply depresses the clutch pedal, moves a lever to

change gears, and then releases pressure on the clutch pedal (all while maintaining pressure



9
    https://www.merriam-webster.com/dictionary/self-acting
10
     https://www.merriam-webster.com/dictionary/self-regulating
                                              12
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on the gas pedal). The transmission, of course, will only allow the driver to select certain

gears, which harkens back to the self-regulating mechanism definition. And because the

clutch assists with the changing of gears, a manual transmission must be an automatic

transmission.    This shows the unreasonableness and absurdity of the Final Rule in

classifying a bump stock as a machinegun. The bump stock needs additional skill and

technique for it to work. It does not regulate itself and it does not act by itself and needs

coordinated intervention and skill by an operator in order to make the bump fire technique

work properly.

        Defendants claim that if “bump stocks continue to be misclassified as unregulated

items, the result would be to permit continued, lawful possession in private hands of

hundreds of thousands of devices that can convert an ordinary, semi-automatic rifle into a

weapon with unhindered automatic firing capability…” Opp. at pp. 21-22. First, as

described in the Motion papers and Mr. Savage’s report, a bump stock does not “convert”

an ordinary semi-automatic rifle into a machinegun. It is not a conversion device. The

binary trigger, which fits better into the definition of a machinegun is (at this stage)

conveniently allowed to be possessed despite Defendants’ acknowledgment it fires twice.

Secondly, because the technique of bump firing a semiautomatic exists, this is really an

attack on all semi-automatic firearms, because as stated previously, a semi-automatic has

an almost identical operational mechanism that a machinegun utilizes. But Defendants

cannot ban the bump fire technique, because all semiautomatics have the capability to

achieve this type of fire.




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         Newton’s third law states that for every action, there is an equal and opposite

reaction.11 All semiautomatics can achieve bump firing because the firearm itself directs

the recoil of the fired shot to the rear of the firearm.12 That recoil is a byproduct of the shot

and is consistent with Newton’s third law. Newton’s third law assists to explain the “why”

bump firing works and no Final Rule can change Newton’s law which is why the bump

firing technique cannot be eliminated. This is also the “why” rubber bands assist in bump

firing a semiautomatic. But comparing rubber bands, as those can actually store and

harness energy, a bump stock neither stores nor harnesses any of the recoil energy produced

by the firearm.

e.       Defendant Whitaker’s Appointment Was Unconstitutional

         Given these Plaintiffs’ and Defendants’ parallel arguments in this matter as in the

related case Guedes, et al. v. Bureau of Alcohol, Tobacco, Firearms and Explosives, et al,

No. 18-cv-2988-DLF (D.D.C. 2018), and because additional argument would be

cumulative and merely burden the record, Plaintiffs would incorporate by reference the

briefing as set forth in Pl.’s Reply ISO of Mot. for PI, No. 18-cv-2988 [ECF 17] (D.D.C.

2018) from Guedes and any oral argument had on that issue.

f.       The Government Concedes Irreparable Harm

         Defendants “do not contest Plaintiffs’ contention that ‘without an injunction …

Plaintiffs must either destroy or surrender their property … or face up to ten years in prison

and up to a $250,000 fine…” Opp. at p. 43. This should be taken as a concession of




11
     https://www.grc.nasa.gov/www/k-12/airplane/newton3.html
12
  There are some firearms that channel or direct recoil in a different fashion, but those
are not the type of firearms that are at issue regarding bump stocks.
                                              14
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irreparable harm. If, as the Defendants intend, this Final Rule goes into effect on March

26, 2019, Plaintiffs are left with two choices: give up and turn in their property or go to

prison. Even if this Court later (or an appellate court) invalidates the Final Rule without

an injunction in place now, Plaintiffs will be irreparably harmed.         The Defendants

downplay the “magnitude of such irreparable harm” because as they say, “the principal

purpose of bump stocks: for ‘recreation and fun’” is apparently a throwaway concern. Our

Declaration of Independence declares that “Life, Liberty and the pursuit of happiness” are

unalienable rights. Plaintiffs need not justify the “why” Plaintiffs want to keep their own

property.

         Defendants do claim that the implementation of the Final Rule is to “promote public

safety.” Opp. at p. 44. Defendants then claim that the “public safety benefit would be

jeopardized by an injunction which would allow a terrorist or criminal to use a lawfully-

possessed bump stock to carry out a large-scale attack.” Id. No matter that the government

will not produce proof-positive that bump stocks were used in the Las Vegas incident, and

that no proof of bump stock related crime has been committed since that date (or

previously?) and that bump stocks are currently still “lawful” until March 26, 2019… but

a terrorist or criminal could use them in an attack. Notwithstanding criminals and terrorists

can use anything in an attack (for instance, a 19 ton cargo truck on July 14, 2016 in Nice,

France, killing 86 individuals and injuring 458 others)13, (see also pressure cookers at the

Boston Marathon, killing three individuals and injuring at least 264 others) 14 , the

Defendants have singled out bump stocks (but not binary triggers, rubber bands, or bump



13
     https://en.wikipedia.org/wiki/2016_Nice_truck_attack
14
     https://en.wikipedia.org/wiki/Boston_Marathon_bombing
                                             15
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firing in general) solely based on politics and President Trump’s statement that he will ban

them.

        Yet banning bump stocks will do nothing to promote public safety. It is a reaction

to a tragedy. Had the perpetrator in Las Vegas utilized a 19-ton truck instead, would there

be a ban on rentals or purchases of large trucks? Hardly. Instead, the Defendants claim

this ban on bump stocks “could result in less danger to first responders when responding

to incidents.” Opp. at p. 44. Banning all weapons could also result in less danger to first

responders. Banning rentals or purchases of large trucks could stop a terrorist from using

them to run over pedestrians. Nothing in the administrative record demonstrates that this

ban on bump stocks would further public safety nor have the Defendants demonstrated that

the hypothetical terrorist would want a bump stock equipped rifle rather than some other

item to commit his crime. It is merely speculation on the part of Defendants and cannot

rise to the level of allowing the willful violation of the rights of Plaintiffs. Truthfully, this

case should be a Second Amendment case instead of an APA case because if this case is

really about machineguns, it should implicate the Second Amendment. But sadly, that is

foreclosed by Circuit precedent because as Justice Thomas recently stated in a dissent, “…

as evidenced by our continued inaction in this area, the Second Amendment is a disfavored

right in this Court.” Silvester v. Becerra, 138 S. Ct. 945, 945 (2018) (Thomas, J.

dissenting).

               IV. Conclusion

    “It is in the public interest for courts to carry out the will of Congress and for an agency

to implement properly the statute it administers.” Mylan Pharm., Inc. v. Shalala, 81 F.

Supp. 2d 30, 45 (D.D.C. 2000). Because the term “automatically” is not ambiguous,



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Defendants cannot rewrite it to fit how they want. The Defendants’ Final Rule is a

complete usurpation of Congress’ authority to determine the statutory definition of

machinegun and the public interest will be served in enjoining this Final Rule because of

the reasons set forth previously.    “Congress alone has the institutional competence,

democratic legitimacy, and (most importantly) constitutional authority to revise statutes in

light of new social problems and preferences. Until it exercises that power, the people may

rely on the original meaning of the written law.” Wis. Cent., Ltd. v. United States, No. 17-

530, 2018 U.S. LEXIS 3837 (June 21, 2018).

    Because all factors heavily weigh in the favor of the Plaintiffs and all other interested

parties, the Plaintiffs respectfully request that this Court issue a systemwide preliminary

injunction staying the Final Rule’s implementation until this Court rules on the merits of

the action and all appeals are exhausted.



Dated: February 8, 2019

                                              Respectfully Submitted,


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                             CERTIFICATE OF SERVICE

        I, Stephen D. Stamboulieh, hereby certify that I have filed with the Clerk of this
Court, a true and correct copy of the foregoing document or pleading, utilizing this Court’s
CM/ECF system, which generated a Notice and delivered a copy of this document or
pleading to all counsel of record.


Dated: February 8, 2019.

                                      /s/ Stephen D. Stamboulieh
                                      Stephen D. Stamboulieh




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